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13

14                                 UNITED STATES DISTRICT COURT

15               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

16

17     SMITH ROBERTS, Individually and on          CASE NO.: 5:20-cv-07824
       Behalf of All Others Similarly Situated,
18                                                 CLASS ACTION COMPLAINT FOR
                         Plaintiffs,               VIOLATIONS OF THE SHERMAN ACT
19                                                 (15 U.S.C. § 2) AND CALIFORNIA
                             vs.                   UNFAIR COMPETITION LAW (CAL.
20
       GOOGLE LLC and ALPHABET INC.,               BUS. & PROF. CODE §§ 17200, ET
21                                                 SEQ.)
                        Defendants.
22
                                                   DEMAND FOR JURY TRIAL
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 1             Plaintiff, Smith Roberts, individually and on behalf of all those similarly situated, brings

 2   this action for damages and equitable relief against Google LLC and Alphabet Inc. and alleges,

 3   based upon the investigation of counsel and on information and belief, as follows:

 4       I.          OVERVIEW

 5             1.       Google’s Play Store is an app store available to consumers whose mobile devices

 6   use Google’s Android operating system. Google has sought to deter competition in the market

 7   for Android apps and products sold within those apps to ensure its monopolization of this

 8   market.

 9             2.       Plaintiff and the proposed Class have overpaid or otherwise suffered economic

10   harm as a result of Google’s monopolization of the Android mobile app market and now seek

11   damages and injunctive relief.

12       II.         JURISDICTION AND VENUE

13             3.       Plaintiff brings this action under Sections 4, 12 and 16 of the Clayton Act (15

14   U.S.C. §§ 15, 22 and 26) for treble damages and injunctive relief, as well as reasonable attorneys'

15   fees and costs with respect to the injuries sustained by Plaintiff arising from violations by

16   Defendants of the federal antitrust laws, including Section II of the Sherman Antitrust Act (15

17   U.S.C. § 2).

18             4.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 133l, 1337

19   (a) and 1367.

20             5.       This Court has in personam jurisdiction over Defendants because each, directly

21   and/or through its ownership or control of subsidiaries: (a) transacted business in the United

22   States, including in this District; (b) are registered to do business in the state of California; (c)

23   had substantial aggregate contacts with the United States, including this District; and/or (d)

24   engaged in anticompetitive acts that were directed at, and had a direct, substantial, and

25   reasonably foreseeable and intended effect of injuring, the business or property of persons and

26   entities residing in, located in, or doing business throughout the United States, including in this

27   District. Defendants conduct business throughout the United States, including in this District,

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 1   and have purposefully availed themselves of the laws of the United States.

 2             6.       Venue is proper in this District pursuant to 15 U.S.C. §§ 15 and 22 and 28 U.S.C.

 3   § 1391(b) and (c) because a substantial part of the events giving rise to Plaintiff’s claims

 4   occurred in this District, a substantial portion of the affected interstate trade and commerce was

 5   carried out in this District, and one or more of the Defendants reside in this District or are

 6   licensed to do business in this District. The anticompetitive conduct alleged herein has been

 7   directed at, and has had the intended effect of, causing injury to persons residing in, located in, or

 8   doing business in this District.

 9      III.         INTRA-DISTRICT ASSIGNMENT

10             7.       Assignment to the San Jose Division of this District is proper under Civil Local

11   Rule 3-2(c) and (e) because a substantial part of the events or omissions which give rise to

12   Plaintiff’s claims occurred in Santa Clara County, where Google LLC is headquartered.

13      IV.          PARTIES

14             8.       Plaintiff, Smith Roberts, is a resident of Los Angeles County, California, and

15   purchased and paid Google for one or more apps or in-app purchases through the Google Play

16   Store.

17             9.       Defendant, Google LLC is a limited liability company organized under the laws

18   of the State of Delaware, with its principal office at 1600 Ampitheatre Parkway, Mountain View,

19   California 94043. Google LLC is a foreign limited liability company registered with the

20   California Secretary of State.

21             10.      Defendant Alphabet Inc. is a Delaware corporation with its principal office at

22   1600 Ampitheatre Parkway, Mountain View, California 94043. Alphabet Inc. is a foreign

23   corporation registered with the California Secretary of State.

24      V.           FACTUAL ALLEGATIONS

25             11.      Google was officially launched in 1998 as a search engine that ranked the

26   relevance of a webpage by assessing how many other webpages linked to it and grew to become

27   the world’s most popular search engine. Its dominance is such that “Googling” something is now

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 1   synonymous with running an online search.

 2          12.     Google has since expanded from its search engine into other areas including

 3   digital advertising, a mobile operating system (Android), and digital mapping, email, cloud

 4   computing, and voice assistant services. Nine of Google’s products—Android, Chrome, Gmail,

 5   Google Search, Google Drive, Google Maps, Google Photos, Google Play Store, and

 6   YouTube—have more than a billion users each. Each of these services provides Google with a

 7   trove of user data, reinforcing its dominance across markets and driving greater monetization

 8   through online ads.

 9          13.     Alphabet Inc. was formed in 2015 to serve as a holding company for Google and

10   several former Google subsidiaries. As of 2019, Fortune 500 listed Alphabet Inc. as the fourth

11   largest technology company worldwide.

12          14.     Google is one of the world’s largest corporations. For 2019, Google reported total

13   revenues of $160.7 billion—up 45% from 2017—and more than $33 billion in net income.

14   Google has enjoyed strong and steady profits, with profit margins greater than 20 percent for

15   nine out of the last ten years. Financial analysts predict that Google is well positioned to

16   maintain its dominance, noting that “Alphabet has established unusually deep competitive moats

17   around its business.”

18          15.     In the late 1990s and early 2000s, when Google was formed, internet searches

19   were almost exclusively performed through browsers on computers. However, individuals now

20   increasingly use phones and other mobile devices to access the internet. Thus, Google launched a

21   business policy to target users of mobile devices and to ensure they adopt versions of Google’s

22   technology, products and operating systems.

23          16.     A mobile app is software designed for use on a mobile device to provide access to

24   digital content or services. Popular mobile apps allow users to share content or play games and,

25   importantly, permit “in app” sale or purchase transactions for goods and services. Mobile apps

26   can be pre-installed on a mobile device as a component of the operating system by the Original

27   Equipment Manufacturer (“OEM”), or otherwise loaded directly onto the mobile device from the

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 1   web using a web browser (a process referred to as “sideloading”). The most frequent way that

 2   consumers access mobile apps is through an app store, which itself may be pre-installed on the

 3   mobile device. Google uses its Google Play Store to control the mobile app market for devices

 4   using the Android operating system.

 5          17.     An app store is the central point for users to access mobile apps and allows users

 6   to search, review and buy a mobile app in one spot. There is separate market for mobile apps

 7   specific to the OS, including apps developed for Apple iOS that only work on Apple mobile

 8   devices and apps developed for Android OS that only work on Android mobile devices. For the

 9   same reason, Apple’s App Store and the Google Play Store do not compete against one

10   another.

11          18.     In order to establish dominance, Google released the Android mobile operating

12   system. Google released the Android code for free as “open source,” which means that anyone

13   could access the code and modify it. Modifying the operating system constitutes a “fork.”

14          19.     The open source aspect of the Android OS was key to its wide adoption by OEMs

15   (such as LG, Motorola, Samsung, etc.) and phone carriers (such as AT&T, T-Mobile/Sprint,

16   Verizon, etc.). The open source model suggested that the distributors, and not Google, would

17   ultimately retain control over their devices and the app ecosystem on those devices which led

18   OEMs and phone carriers to use Android instead of other choices then available.

19          20.     However, once the distributors agreed to use the Android OS, app developers

20   looking for wide distribution of their apps were then incentivized by Google to develop apps

21   compatible with Android OS. As more apps became available on Android OS, the operating

22   system became more attractive to consumers which in turn led to even more developers

23   designing for Android.

24          21.     To achieve desired network effects and make the Android system ubiquitous,

25   Google then “shared” its search advertising and app store revenues with distributers to further

26   induce distributors to give up control over the OS and which apps come preinstalled on mobile

27   devices.

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 1          22.     Google solidified market dominance of Android OS through a series of

 2   contracts with distributors designed to minimize competition. Google requires OEMs such as

 3   LG, Motorola, and Samsung to enter “anti-forking agreements.” These agreements specifically

 4   forbid OEMs from developing or distributing versions of Android that do not comply

 5   with onerous Google-controlled technical standards. The signatories may not distribute devices

 6   with Android forks or use their powerful brands to market forks on behalf of third parties. As a

 7   result of Google’s anticompetitive practices, Android OS represents over 95 percent of

 8   licensable mobile operating systems for smartphones and tablets in the United States.

 9          23.     Google exercised its monopoly power to establish the Google Play Store as the

10   dominant “store” by which other applications can be downloaded for use by consumers on the

11   Android OS.

12          24.     Knowing that users rarely change defaults, Google required that mobile device

13   OEMs pre-install the Google Play Store on all mobile devices. Google also refuses to allow any

14   rival app store to be downloaded from the Google Play Store. Third-party app stores could only

15   be accessed by “sideloading,” a complicated multi-step process where users are warned

16   that sideloading is unsafe. Thus, while Google theoretically permits users to download third-

17   party app stores, few users pursue this option because Google implements significant hurdles

18   designed to steer consumers away from this option.

19          25.     Google also limits basic app functions for third-party apps that are available to

20   apps downloaded on the Google Play Store, including making it more difficult for users to

21   update apps compared to automatic updates in the mobile device’s background.

22          26.     Because the Google Play Store is the primary way users install applications on

23   Android devices, the Play Store effectively functions as a gatekeeper for software distribution on

24   all mobile devices with Android OS.

25          27.     As a result of its monopolistic conduct, Google has extracted supra-competitive

26   prices for its Android app distribution services and in-app purchases made through the Google

27   Play Store, including a 30 percent commission on sales of paid apps and a 30 percent fee for in-

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 1   app purchases. Google collects and processes these commissions and fees directly from Plaintiff

 2   and Class Members, remitting the remainder of their payment to the mobile app developer.

 3          28.     Google uses its gatekeeping power over third-party app developers with arbitrary

 4   and unaccountable enforcement of Play Store policies, which then protect the dominance of

 5   Google’s own services and stifles rivals. For example, one mobile app “Callsome” was banned

 6   from the Google Play store for “Ad Policy” violations only to learn later that an identical product

 7   was able to stay and thrive in the Play Store. Callsome believes it was banned because of its

 8   partnership with SmartApp, which at the time was widely considered to be a potential rival to

 9   Google in the Russian market.

10          29.     Google maintains a monopoly in the Android Mobile App Market and is able to

11   charge supra-competitive prices for mobile app and in-app purchases. Google uses

12   anticompetitive covenants in Google’s Mobile Application Distribution Agreement (“MADA”),

13   requiring OEMs to license the entire suite of Google applications and services in order to also

14   license the Android OS. Google also requires OEMS to pre-install the Google Play Store on its

15   home page. If an OEM refuses these restrictive terms and conditions, it loses access to the

16   Android OS.

17          30.     As a result of the MADA terms and conditions, Google has successfully

18   prevented competition from its rivals in the Android Mobile App Market. Google’s MADA

19   agreements also allow Google to charge supra-competitive prices for mobile app and in-app

20   purchases, harming Plaintiff and Class Members by limiting consumer choice.

21          31.     Similarly, Google uses its Developer Distribution Agreement (“DDA”) to

22   contractually restrict competition in the Android Mobile App Market. Amongst other terms, the

23   DDA mandated that developers comply with Google’s Developer Program Policies, including

24   using Google’s proprietary in-app billing for in-app game payments, as well as certain other

25   digital in-app purchases. The DDA also requires that developers “may not use Google Play to

26   distribute or make available any Product that has a purpose that facilitates the distribution of

27   software applications and games for use on Android devices outside of Google Play.” Google

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 1   has the right to remove any Android app it believes has violated any portion of the DDA.

 2      VI.         ANTITRUST INJURY

 3            32.     Plaintiff and Class Members purchased Android mobile apps and in-app digital

 4   content directly from Google through the Google Play Store. Without the unlawful restraints

 5   described above, Plaintiff and Class Members would not have to pay supra-competitive prices

 6   for mobile apps and in-app purchases. Google’s anticompetitive practices also stalled, limited or

 7   foreclosed competition and innovation in the Android Mobile App Market.

 8      VII.        MARKET DEFINITION

 9            33.     The relevant product market is the market for Android mobile apps and in-app

10   purchases. The relevant geographic market for purposes for this action is the United States and

11   its territories. Google has significant and durable power in this market, app stores and mobile

12   apps are developed and distributed throughout the United States, and Google’s Play Store is

13   available to Android users throughout the United States.

14      VIII. STATUTE OF LIMITATIONS AND FRAUDULENT CONCEALMENT

15            34.     Plaintiff and the Class Members had no knowledge of Defendants’

16   anticompetitive conduct, or of facts sufficient to place them on inquiry notice of the claims

17   asserted herein, during the Class Period and continuing thereafter, until October 2020 when the

18   United States House of Representatives published its Investigation of Competition in Digital

19   Markets and provided details concerning Google and its conduct.

20            35.     Plaintiff and the Class Members suffered economic loss due to Defendants’

21   wrongful exercise of monopoly power. However, Plaintiff’s interactions with Defendants were

22   insufficient to discover their wrongful conduct.

23            36.     Furthermore, no public information was available during the Class Period or

24   thereafter that suggests Defendants’ business activities were done to monopolize the Android

25   Mobile App Market until the House published the Report of its investigation against Google.

26            37.     Moreover, it was reasonable for Plaintiff and Class Members not to suspect that

27   Defendants were engaging in any unlawful anticompetitive behavior. Plaintiff and Class

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 1   Members are merely consumers of apps and were not active participants in the market.

 2             38.   Plaintiff alleges a continuing course of unlawful conduct by Defendants,

 3   including conduct within the applicable limitation periods. That conduct has inflicted continuing

 4   and accumulating harm within the applicable statutes of limitation.

 5             39.   For these reasons, the statutes of limitations applicable to Plaintiffs’ and Class

 6   Members’ claims have been tolled with respect to the claims asserted herein until the House

 7   Report about Google became public.

 8             40.   Additionally, or alternatively, application of the doctrine of fraudulent

 9   concealment tolled the statutes of limitations on Plaintiff’s claims. Plaintiff and Class Members

10   had no knowledge of Google’s wrongful acquisition and maintenance of monopoly power in the

11   relevant market, or of facts sufficient to place them on inquiry notice of their claims, during

12   the Class Period and continuing thereafter. No information in the public domain or otherwise

13   available to Plaintiff and Class Members during the Class Period suggested that Google had

14   wrongfully acquired a monopoly or was using its monopoly power to charge supra-competitive

15   prices.

16             41.   In failing to disclose its wrongful monopolization, in addition to denying it was

17   engaged in such conduct, Google was able to conceal its illicit conduct. In fact, Google has made

18   public denials to this effect.

19             42.   After it was revealed that the House was investigating Google’s monopoly,

20   Google denied such conduct. Similarly, in response to recent news reports of impending antitrust

21   actions against it by federal and state officials for monopolization, Google stated publicly that

22   competition is flourishing, and publishers and marketers have enormous choice.

23             43.   Further, Google’s anticompetitive monopoly conduct was inherently self-

24   concealing because, as Google knew, its disclosure likely would have led to governmental

25   enforcement activity or civil liability. Google’s conduct is subject to antitrust regulation, so it

26   was reasonable for Plaintiff and the Class Members to presume that they were purchasing apps in

27   a competitive market. A reasonable person under the circumstances would not have had occasion

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 1   to suspect that apps were being sold at supra-competitive prices at any time during the Class

 2   Period.

 3       IX.         CLASS ALLEGATIONS

 4             44.      Plaintiff brings this class action pursuant to Federal Rules of Civil Procedure

 5   23(a), (b)(2), and (b)(3) on his own behalf and as representative of the following class of persons

 6   and entities (the “Class”):

 7             All persons and entities in the United States that made payment to Google for a
 8             mobile app on the Google Play Store, subscription fees for a mobile app obtained
               on the Google Play Store, or app content from a mobile app downloaded from the
 9             Google Play Store, from at least as early as January 1, 2016 through the present
               (“Class Period”).
10

11             45.      Excluded from the class are any named Defendants, Defendants’ parent
12   companies, subsidiaries, and affiliates, Defendants’ officers, directors, management, employees,
13   subsidiaries, affiliates or agents.
14             46.      Plaintiff reserves the right to expand, modify, or alter the class definition in
15   response to information learned during discovery.
16             47.      The proposed class more than meets the prerequisites of Rule 23(a).
17             48.      The proposed class is so large that joinder of all members is impracticable. Class
18   members are also dispersed geographically, both throughout California and the U.S. While
19   Plaintiff does not know the exact number and identity of all Class Members, Plaintiff is informed
20   and believes that there are potentially millions of Class Members and that the precise number
21   of Class Members can be ascertained through discovery.
22             49.      Common questions of law and fact exist as to all members of the proposed class.
23   Such common questions of law and fact include but are not limited to:
24                   a. Whether Defendants engaged in the conduct alleged in this Complaint;
25                   b. Whether Google unlawfully acquired and maintained monopoly power in the
26                      relevant market;
27                   c. Whether the alleged conspiracy violated the Sherman Act;
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 1                d. Whether the alleged conspiracy violated California’s antitrust and unfair

 2                   competition laws;

 3                e. The appropriate injunctive and related equitable relief for the Class; and

 4                f. The appropriate class-wide measure of damages.

 5          50.      Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff

 6   and all members of the Class are all users of the Google Play Store who were harmed by

 7   Defendants’ conduct. Plaintiff’s claims arise out of the same common course of conduct giving

 8   rise to the claims of the other members of the Class.

 9          51.      Plaintiff’s interests are coincident with, and not antagonistic to, those of the other

10   Class members. Plaintiff is represented by counsel, who are competent and experienced in the

11   prosecution of complex class action litigation.

12          52.      The proposed class also meets the requirements of Federal Rules of Civil

13   Procedure 23(b)(2) and 23(b)(3).

14          53.      Defendants’ alleged conduct caused harm to all class members. Defendants’

15   actions apply generally to the class and any final injunctive relief would be appropriate with

16   respect to the class as a whole. Fed. R. Civ. Proc. 23(b)(2).

17          54.      The questions of law and fact common to the members of the Class are

18   predominant and outweigh those questions affecting only individual members, including legal

19   and factual issues relating to liability and damages. Fed. R. Civ. Proc. 23(b)(3).

20          55.      Class action treatment is a superior method for the fair and efficient adjudication

21   of this litigation. With potentially millions of putative class members, class treatment will allow

22   this enormous number of similarly situated potential plaintiffs to prosecute their common claims

23   in a single forum in the most efficient manner. This will avoid the inevitable duplication of

24   evidence, effort, and expense that numerous individual actions would involve. The benefits of

25   proceeding through the class action mechanism, including providing injured persons or entities

26   with a method for obtaining redress for claims that might not be practicable to pursue

27   individually and significantly reducing the burden on the court system of trying these cases

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 1   individually, far outweigh any difficulties that may arise in the management of this class action.

 2      X.         CLAIMS FOR RELIEF

 3                                     FIRST CAUSE OF ACTION
                              Violation of the Sherman Act – Monopolization
 4                                             (15 U.S.C. § 2)
 5           56.     Plaintiff incorporates and realleges, as though fully set forth herein, each and

 6   every allegation set forth in the preceding paragraphs of this Complaint.

 7           57.     Plaintiff brings this claim on his own behalf and on behalf of each member of the

 8   Class described above.

 9           58.     The relevant market is the U.S. market for mobile apps and in-app purchases sold

10   in the Android Mobile App Market.

11           59.     Google has gained and maintains monopoly power in the relevant market by

12   improper and unlawful means. Google has willfully acquired and maintained such

13   power by coercing the purchase of Android mobile apps and in-app products and services at

14   artificial prices and by exclusionary conduct, including its refusal to allow rival app stores to be

15   accessed through the Google Play Store and by implementing significant frictions designed to

16   steer consumers away from sideloading third-party app stores. Consumers must use the Android

17   mobile app market to obtain Android mobile apps and in-app purchases.

18           60.     Substantial barriers to entry exist in the relevant market.

19           61.     Google has the power to exclude competition in the relevant market, and it has

20   used that power, including by way of its unlawful practices in restraint of trade to maintain and

21   expand its monopoly power in that market.

22           62.     Google’s conduct as described herein, including its unlawful practices in restraint

23   of trade, is exclusionary as to its rival app stores in the U.S. market for Android mobile apps

24   and in-app purchases.

25           63.     Google has behaved as alleged herein in an attempt to obtain a monopoly in the

26   U.S. market for Android mobile apps and in-app purchases, with the effect being that

27   competition is foreclosed, innovation is stifled, and consumer choice is gravely diminished.

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 1   Additionally, Google has abused its market power by charging supra-competitive 30 percent

 2   commissions on sales of paid apps and a 30 percent fee for in-app purchases. Further, Google’s

 3   actions have depressed output and stifled innovation and options for consumers as alleged

 4   herein.

 5             64.   There is no business necessity or other pro-competitive justification for Google’s

 6   conduct.

 7             65.   As a direct and proximate cause of Google’s conduct, Plaintiff and members of

 8   the Class have suffered antitrust injury. Plaintiff and the Class members paid significantly higher

 9   prices for Android mobile apps and in-app purchases than they would have but for Google’s

10   unlawful conduct. That conduct also deprived Plaintiff and Class members of improved quality

11   and innovation in the relevant markets.

12             66.   Plaintiff is inclined to continue to purchase Android mobile apps and in-app

13   purchases in the future because of his investment in the mobile device containing the Android

14   OS.

15             67.   Plaintiff and members of the Class are entitled to damages, including treble

16   damages, sustained because of Google’s monopolistic acts and practices.

17             68.   Plaintiff and members of the Class are entitled to equitable relief as appropriate to

18   cure Google’s monopoly conduct and restore competition in the relevant market. Members of

19   the Class are regular users of the Android mobile app market and will continue to purchase such

20   apps and in-app products and services and suffer further injury if Google’s monopoly is not

21   ended.

22             69.   Plaintiff and the Class also are entitled to injunctive relief to prevent Google from

23   persisting in its unlawful, inequitable, and unjustified behavior to their detriment, with such an

24   injunction at a minimum prohibiting Google from continuing to charge supra-

25   competitive commissions on sales of paid apps and supra-competitive fees for in-app purchases.

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 1                                   SECOND CAUSE OF ACTION
 2                       Violation of Sherman Act – Attempted Monopolization
                                            (15 U.S.C. § 2)
 3
             70.    Plaintiff incorporates and realleges, as though fully set forth herein, each and
 4
     every allegation set forth in the preceding paragraphs of this Complaint.
 5
             71.    Plaintiff brings this claim on his own behalf and on behalf of each member of
 6
     the Class described above.
 7
             72.    The relevant market is the U.S. market for mobile apps and in-app purchases sold
 8
     in the Android Mobile App Market.
 9
             73.    As described above, Google has attempted to monopolize the U.S. market for
10
     Android mobile apps.
11
             74.    Google’s anticompetitive conduct has created a dangerous probability that it will
12
     achieve monopoly power in the U.S. market for Android mobile apps and in-app purchases.
13
             75.    Google has a specific intent to achieve monopoly power in the U.S. market
14
     for Android mobile apps and in-app purchases. Now, and if its unlawful restraints are not
15
     checked, Google has a dangerous probability of success in the relevant market as defined by
16
     Plaintiff.
17
             76.    Google has the power to exclude competition in the U.S. market for Android
18
     mobile apps and in-app purchases, and it has used that power, including by way of its unlawful
19
     practices in restraint of trade as described herein, in an attempt to monopolize that relevant
20
     market.
21
             77.    Google’s conduct as described herein, including its unlawful practices in restraint
22
     of trade, is exclusionary as to its rival app stores in the U.S. market for Android mobile apps
23
     and in-app purchases.
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             78.    Google has acted in an attempt to obtain a monopoly in the U.S. market
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     for Android mobile apps and in-app purchases, with the effect being that competition is
26
     foreclosed, innovation is stifled, and consumer choice is gravely diminished. Additionally,
27
     Google has abused its market power by charging supra-competitive 30 percent commissions on
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 1   sales of paid apps and 30 percent fees for in-app purchases. Further, Google’s actions

 2   have depressed output and stifled innovation and options for consumers as alleged herein.

 3           79.     There is no business necessity or other pro-competitive justification for Google’s

 4   conduct.

 5           80.     Plaintiff and the Class have been injured, and will continue to be injured, in their

 6   property as a result of Google’s conduct, including by way of overpaying for Android mobile

 7   apps and in-app purchases.

 8           81.      Plaintiff is inclined to continue to purchase Android mobile apps and in-app

 9   purchases in the future because of his investment in the mobile device containing the Android

10   OS.

11           82.      Plaintiff and the Class also are entitled to injunctive relief to prevent Google from

12   persisting in its unlawful, inequitable, and unjustified behavior to their detriment, with such an

13   injunction at a minimum prohibiting Google from continuing to charge supra-competitive

14   commissions on sales of paid apps and supra-competitive fees for in-app purchases.

15                                     THIRD CAUSE OF ACTION
16                          Violation of the California Unfair Competition Law
                                  (Cal. Bus. & Prof Code § 17200, et seq.)
17
             83.     Plaintiff incorporates and realleges, as though fully set forth herein, each and
18
     every allegation set forth in the preceding paragraphs of this Complaint.
19
             84.     Google’s conduct is unlawful in violation of California’s Unfair Competition Law
20
     (“UCL”) because it violates Section II of the Sherman Act, 15 U.S.C. § 2.
21
             85.     Google has engaged in unfair business practices through the conduct alleged
22
     herein, which has restrained competition. Google’s conduct is unfair and in violation of the UCL
23
     because it violates California’s clearly established public policy forbidding monopolistic acts.
24
     Google wrongfully acquired and unlawfully maintained monopoly power in the relevant market
25
     through the conduct alleged herein, including by leveraging its monopoly power in the Android
26
     mobile app market to coerce the purchase of Android mobile apps and in-app products and
27
     services at artificial prices.
28

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 1             86.      Google’s practices also are unlawful in violation of the UCL because they

 2   offend public policy; are immoral, unethical, oppressive, outrageous, unscrupulous, and

 3   substantially injurious; and caused substantial harm, including in the form of artificially inflated

 4   prices, that greatly outweighs any possible utility from the practices.

 5             87.      Google’s conduct actually and proximately caused Plaintiff and Class members to

 6   lose money or property. On behalf of the Class, Plaintiff seeks damages, injunctive relief, and

 7   reasonable attorneys’ fees and costs, as well as any other relief the Court may deem just or

 8   proper.

 9      XI.          PRAYER FOR RELIEF

10             WHEREFORE, Plaintiff respectfully requests that the Court:

11                   A. Determine that this action may be maintained as a class action under Rule 23(a),

12                      (b)(2), and (b)(3) of the Federal Rules of Civil Procedure;

13                   B. Direct that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules

14                      of Civil Procedure, be given to the Class;

15                   C. Appoint Plaintiff as Class Representative and his counsel of record as Class

16                      Counsel;

17                   D. Enter judgment against Defendants and in favor of Plaintiff and the Class;

18                   E. Award Plaintiff and the Class damages to the maximum extent allowed, including

19                      actual and statutory damages;

20                   F. Award Plaintiff and the Class restitution for monies paid;

21                   G. Award Plaintiff and the Class equitable, injunctive and declaratory relief as

22                      appropriate under applicable laws;

23                   H. Award pre- and post-judgment interest at the highest legal rate;

24                   I. Award Plaintiff and the Class members’ reasonable attorneys’ fees and costs of

25                      suit; and

26                   J. Award such other and further relief as the Court may deem just and proper.

27

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 1      XII.    DEMAND FOR JURY TRIAL

 2         Plaintiff hereby demands a jury trial for all claims so triable.

 3

 4   Dated: November 5, 2020                              /s/ R. Alexander Saveri
                                                         R. Alexander Saveri (SBN 173102)
 5
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 6                                                       Cadio Zirpoli (SBN 179108)
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                                 CLASS ACTION COMPLAINT - 16
